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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                *
BRIAN MILLER,                                   *
                                                *
       Plaintiff,                               *
                                                *
v.                                              *     Case No.: RWT 12-cv-928
                                                *
WESTLAKE SERVICES, LLC,                         *
                                                *
       Defendant.                               *
                                                *

                                   SETTLEMENT ORDER
                                    (LOCAL RULE 111)

       This Court has been advised by the parties that the above action has been settled,

including all counter-claims, cross-claims, third-party claims and attorney’s fees, if any.

Accordingly, pursuant to Local Rule 111, it is this 9th day of August, 2012, by the United States

District Court for the District of Maryland, hereby

       ORDERED that this action is DISMISSED with each party to bear its own costs unless

otherwise agreed, in which event the costs shall be adjusted between the parties in accordance

with their agreement. The entry of this Order is WITHOUT PREJUDICE to the right of a

party to move for good cause within 30 days to reopen this action if settlement is not

consummated. If no party moves to reopen, the dismissal shall be WITH PREJUDICE.




                                                                   /s/
                                                               ROGER W. TITUS
                                                        UNITED STATES DISTRICT JUDGE
